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 8                   FOR THE UNITED STATES DISTRICT COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                  Case No. 24-CR-00570-WLH
12                       Plaintiff,             Hon. Wesley L. Hsu
13      v.
                                                ORDER APPOINTING JOHN C.
14   CLAIRE PATRICIA HAVILAND, et               ELLIS, JR. AS COORDINATING
     al.,                                       DISCOVERY ATTORNEY [520]
15
16                     Defendants.
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23
             It is hereby ORDERED that John C. Ellis, Jr., is appointed as Coordinating
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     Discovery Attorney for court-appointed defense counsel. The Coordinating
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     Discovery Attorney shall oversee any discovery issues common to all defendants with
26
     court-appointed counsel. His responsibilities will include:
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 1          Managing and, unless otherwise agreed upon with the Government,
 2           distributing discovery produced by the Government and relevant
             third-party information common to defense counsel for all defendants;
 3
            Evaluating the volume and type of discovery to determine what
 4           technologies will ensure duplicative costs are avoided and the most
 5           efficient and cost-effective methods are identified;
            Act as a liaison with the United States Attorney’s Office to ensure the
 6           timely and effective exchange of discovery, resolve form of production
 7           issues, and coordinate solutions for any technical problems accessing
             discovery;
 8          Engage with third-party technology vendors and other litigation support
 9           services as needed;
            Identify any additional human resources that may be needed by defense
10
             counsel for the organization and substantive review of information; and
11          Provide technological tools and training services to the defense teams as a
12           group and individually to ensure efficiency locating relevant data within
             discovery.
13
           The Coordinating Discovery Attorney’s duties do not include providing
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     representation services, and therefore will not be establishing an attorney-client
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     relationship with any of the defendants. Discovery intended for counsel of a specific
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     defendant and not to be shared among all defense counsel, shall be produced by the
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     Government directly to defense counsel for that defendant. For discovery common
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     to all defendants (“common discovery”), discovery issues specific to any defendant
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     shall be addressed by defense counsel directly with the Government and not through
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     the Coordinating Discovery Attorney.
21
           For common discovery that has already been produced by the Government
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     prior to this Order, the Government shall provide a copy to the Coordinating
23
     Discovery Attorney. Additional common discovery not already produced shall be
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     provided directly to the Coordinating Discovery Attorney, who shall duplicate and
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     distribute the discovery to all defense counsel, unless otherwise agreed to by the
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     parties. When the Government elects to produce discovery directly to defense
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     counsel, it shall simultaneously provide a copy to the Coordinating Discovery
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 1   Attorney. The Government shall work with the Coordinating Discovery Attorney to
 2   provide discovery in a timely manner.
 3         The Coordinating Discovery Attorney shall submit funding requests or
 4   AUTHs for outside services in eVoucher to be reviewed by the CJA Office and the
 5   CJA Office will independently seek approval from the presiding judge to facilitate
 6   these funding requests. The Coordinating Discovery Attorney shall monitor all
 7   vendor invoices for these services within eVoucher including confirming the work
 8   performed was previously authorized. However, the time expended by the
 9   Coordinating Discovery Attorney and his staff will be paid by the Administrative
10   Office of the U.S. Courts, Defender Services Office. All funding requests for outside
11   services shall include a basis for the requested funds and a determination that the
12   costs of the services are reasonable.
13         The Coordinating Discovery Attorney may also provide this Court with
14   monthly ex parte and under seal status reports depicting the status of work and
15   whether that work remains within the budget of any funds authorized by the Court,
16   with a copy provided to defense counsel.
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18   IT IS SO ORDERED.

19
20   Dated: 10/31/2024                       __________________________
                                             HON. WESLEY L. HSU
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                                             U.S. DISTRICT JUDGE
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